Filed 8/26/24 Wondries v. Wishengrad CA2/1
   NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS

California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions
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IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                         SECOND APPELLATE DISTRICT

                                        DIVISION ONE


 PATTY WONDRIES,                                              B332019

           Plaintiff and Respondent,                          (Los Angeles County
                                                              Super. Ct. No. 23PDRO00683)
           v.

 BARRY M. WISHENGRAD,

           Defendant and Appellant.


      APPEAL from an order of the Superior Court of Los
Angeles County, Timothy Martella, Judge. Affirmed.
      Kowal Law Group and Timothy M. Kowal for Defendant
and Appellant.
      Law Offices of Thomas J. Nolan and Thomas J. Nolan for
Plaintiff and Respondent.
               __________________________________
       Appellant Barry Wishengrad appeals the trial court’s entry
of a three-year civil harassment restraining order protecting
respondent Patty Wondries. Wishengrad sent a series of hateful
text messages to Patty’s husband, Paul Wondries, as Paul lay
dying in the hospital.1 On the day Paul died, Wishengrad sent
Patty a text message celebrating Paul’s death and informing her
that he would also rejoice when she died. He additionally caused
at least a dozen black roses to be sent to her. The trial court
found, by clear and convincing evidence, that Wishengrad had
committed two acts constituting harassment toward Patty
(sending the text message and sending the roses), and that
Wishengrad’s behavior would not stop without court intervention.
       On appeal, Wishengrad argues that: (a) the court erred as a
matter of law in deeming that his act of sending a text message to
Patty as well as his act of sending her black roses constituted a
“course of conduct” as that term is used in Code of Civil
Procedure section 527.6;2 and (b) substantial evidence does not
support the court’s conclusion that his behavior would not stop
without court intervention. We affirm.




      1 Because Patty and Paul Wondries share a surname, we

refer to them by their first name.
      2 Undesignated statutory references are to the Code of Civil

Procedure.




                                 2
      FACTUAL AND PROCEDURAL BACKGROUND3

      A.   Patty Requests a Civil Harassment Restraining
           Order Against Wishengrad
      On May 19, 2023, Patty applied for a Civil Harassment
Restraining Order against Wishengrad and asked the court to
issue a Temporary Restraining Order until her request could be
heard. In her petition, she stated the harassment had occurred
on May 11, 2023.

            1.    Background
      Patty explained that her recently deceased husband Paul
had owned and managed several local automobile dealerships.
Wishengrad had been the general manager of one such
dealership. According to Patty, “Paul uncovered certain
unethical business practices of Wishengrad,” which led to
Wishengrad’s termination as well as Paul’s lodging a criminal
complaint. Due to this, Wishengrad “harbored hatred and
bitterness” toward Paul. In 2010, Wishengrad sued, alleging
harassment and discrimination, and Paul filed a cross-complaint.
The parties agreed to arbitrate the dispute. The proceedings
were “bitter and contentious” and did not resolve until 2016.
Patty claimed that Wishengrad did not win on his affirmative
claims but recovered a “modest sum” of attorneys’ fees for
defending against the cross-complaint. Patty alleged that “[t]he
parties never reconciled and it [is] well understood in the
business community that Wishengard [sic] harbored deep bitter
resentment of Paul and me.”

      3 We limit our summary to the facts and procedural history

relevant to the issues raised on appeal.




                                 3
            2.      Wishengrad Sends Text Messages to Paul
                    on His Deathbed
      Patty’s petition also alleged: “Beginning on March 1, 2023,
and continuing up to Paul’s death, Wishengrad authored and
transmitted malicious, vile, and harassing text messages to
Paul’s iPhone. Many of the text messages were addressed to Paul
while he was gravely ill and on his deathbed at Cedars-Sinai
Hospital.” Patty was always at Paul’s bedside and Paul would
share the text messages with her. When Paul was unable to read
the messages, he asked Patty to read them aloud. Patty stated
that she was “shocked, hurt, and bewildered by Wishengrad’s
text messages.”
      One text message, sent on March 1, 2023, read: “The gates
of HELL are open and waiting for you! Your presence has been
expected for a long time. All your lies and deceitful ways
guaranteed you a spot in hell. Good riddance[,] you cockroach.
The world will celebrate your death! It’s now a far better planet
without you, you POS scumbag. Barry.”
      Another, also sent on March 1, 2023, read: “This is from
someone in your closest circle. Everyone shares this sentiment.
[¶] Omg!! He actually deserves it, you would think that on your
death bed you would want your children around and ask for
forgiveness but noooo the piece of shit shut them down cruelly.
Instead he hurriedly transferred everything over to the bag o[f]
bones he calls a wife and left nothing for his kids. Not even a
kind word to let them know they meant something to him. What
kind of a selfish, cold, heartless person behaves like that! I
thought those people only existed in movies. I told you, the devil
has been preparing hell for him, he stocked up on pineapples . . .
ready to shove up his ass for eternity.”




                                4
       Yet another, sent on March 2, 2023, read: “The clock is
ticking! [¶] Tick-tock! [¶] By the way[,] I don’t accept FaceTime
calls. Only text messages from scum!” When Paul responded,
“Pass. No further response from me,” Wishengrad replied, “At
least you’re thinking about me in your last hours.”
       The next day, Wishengrad sent another message stating
that “Jennifer, Parker, Taylor, Justin and Jill, they are all happy
and thriving!!! A state of being that your money can’t buy! You
bet on the wrong horse with your ‘new’ family. I bet they are
buying new dancing shoes!”
       Two weeks later, on March 17, 2023, Wishengrad sent a
text message stating that he was in Las Vegas and “odds say you
won’t make it through April. [¶] You scum bucket POS [¶] Fred
Streeter is waiting for you before you enter the gates of hell.”4
The next day, Wishengrad texted a picture of a cup filled with ice
and a presumably alcoholic liquid and the message “Cheers to
hell[’]s gate.”5

            3.    Wishengrad Sends a Text Message to
                  Patty After Paul’s Death
      According to the petition, after Paul passed away from
cancer at 1:15 a.m. on May 4, 2023, Patty went home and fell into


      4 Wishengrad later clarified that Streeter was Paul’s

“former partner,” who “tragically committed suicide.”
Wishengrad claimed Paul “financially ruined” Streeter using
“ruthless business practices and financial threats” and that Paul
had “chuckled” after learning of Streeter’s suicide.
      5 Although Patty’s petition stated that Wishengrad’s text

messages “continu[ed] up to Paul’s death,” this is the last text
message sent from Wishengrad to Paul in the appellate record.




                                5
an exhausted and fitful sleep. At 3:20 p.m. that same day, she
received a text message that read: “Patty, so very satisfied with
your loss, only sorry he didn’t die sooner. The world just got
brighter yesterday with your piece of shit taking his last breath,
the only thing that could have made it better was if you had
painfully died with him., [sic] I guarantee that a seat right next
to Paul is waiting for you in HELL, appropriately where you both
belong. Live in misery and looking forward to hearing about your
own passing, it will be another celebration for sure.” Patty
described the great emotional trauma this message caused her.

            4.     Black Roses Are Sent to Patty
       According to her petition, in the early afternoon on May 11,
2023, Patty discovered a box on her front porch. Inside were a
dozen black roses. Patty took the box to the nearest police
station, and law enforcement interviewed her and “issue[d] a
citation reporting [Patty] as a victim of []harassment.” Patty
stated she was “investigating the sender’s information from
Federal Express” and would “issue a subpoena” before the
hearing on her petition.

      B.     Wishengrad Responds to the Petition
       Wishengrad’s counsel averred in a declaration that, on May
30, 2023, he was served with Patty’s restraining order papers
after he “agreed in writing to accept service on [his] client’s
behalf as requested by opposing counsel and authorized it to be
done by e-mail for the sake of efficiency.” However, two days
later, he claimed that Wishengrad was personally served at home
with the same papers.
       Wishengrad filed his response in June 2023. He admitted
sending the text message to Patty and claimed that the black




                                 6
roses were sent not just by him, but “by a group of former
Wondries employees who had been viciously treated by the
Wondries family.”6 He justified the text message “given the
utterly vicious conduct by the Wondries family toward numerous
Wondries dealership employees over the years, including Barry
Wishengrad.”7 He also justified the text messages sent to Paul
“given Paul Wondries’[s] wicked behavior toward so many
Wondries employees including Barry Wishengrad.”
       However, Wishengrad claimed that he would no longer
communicate with Patty because there was “no further need to do
so now that Paul Wondries and his wicked leadership are over.”
He further asserted that, had Patty or any one of her attorneys
asked him to stop communications, he would have. He declared
that “[t]he emotional catharsis is now over, and I have no desire
to contact Patty Wondries or any of the Wondries family because
I have won by outliving Paul Wondries, running my dealerships
in an honest manner, and earning the respect of my employees by
treating them with dignity.” Wishengrad gave several examples
of how he believed Paul and Patty Wondries had mistreated their
employees and partners and claimed that those former
employees, “who have been viciously harmed by the Wondries


      6 Wishengrad also stated the black roses had been sent “on

May 11, 2023.”
      7 Wishengrad claimed he was fired as retaliation for his

objections to “repeated misconduct by Paul Wondries” and his
refusal to “commit perjury” in Paul’s divorce from his first wife.
He declared that the arbitrator had exonerated him regarding
Paul’s accusations of financial impropriety, as had the police
detective assigned to investigate the allegations, and Paul’s own
sister, a former deputy district attorney.




                                 7
family (including by Patty Wondries) had a right as a group to
send black roses to symbolize the cruelty of the Wondries family.”
Two other former employees of Wondries dealerships submitted
similar declarations.8

      C.     The Court Issues a Civil Harassment
             Restraining Order
       At the court hearing on Patty’s restraining order, Patty
testified that Paul had been hospitalized beginning in March
2023, that she had stayed with him during his hospitalization,
and that he had received several text messages from Wishengrad
while in the hospital. She described receiving Wishengrad’s text
message to her the day that Paul died, and how the message
horrified her.9 Patty also testified that she received three dozen
black roses on May 4 (her petition stated she had received a
dozen black roses on May 11) and that she took them to the police
because she was afraid Wishengrad “really wanted to hurt me
now that my husband was gone.”
       Wishengrad testified that he had sent the text message to
Patty and was part of the group that sent her the black roses. He
expressed no remorse for sending the roses because “Paul
Wondries had tried to destroy my life.” When the court asked
him what effect he was trying to achieve by sending the roses,
Wishengrad responded, “It’s called an exclamation point at the


      8 At the hearing on the restraining order, Wishengrad

testified that these two former employees now worked for him
and provided declarations at his request.
      9 At the hearing, she testified that Paul died on May 3 (she

stated May 4 in her petition) and that she had received
Wishengrad’s text that same afternoon.




                                8
end of the sentence.” He elaborated that Patty was an “integral
part with Paul” and that there was a “dislike for Paul Wondries
and a dislike for Patty being his partner in crime.” In response to
his counsel’s question of whether winning in arbitration against
Paul compensated him or replaced the anxiety and stress he was
under for six years, Wishengrad responded, “No, not even close.”
When the court asked if “that [was] why you sent the emails [sic]
to the hospital room,” Wishengrad responded, “I believe so, yes.”10
       After Wishengrad testified he had no further need to
contact the Wondries family, the court asked him why he had a
need to contact them six years after the litigation had ended.
While Wishengrad denied that the dispute had been “eating at”
him, he conceded “it’s always sat back in the back of your mind,”
and that it was “in [his] mind enough that [he] sent the text and
the flowers.” In response to the court’s skepticism that it was no
longer in his mind now, Wishengrad pointed out that Paul had
passed away. When the court reminded Wishengrad that Patty
had not, Wishengrad responded, “Yeah, but that’s, you know,
water under the bridge.” On cross-examination, Wishengrad
admitted that he had placed the order for the black roses and
stated that a company that he owned—Van Nuys Nissan—paid
for them.11



         10 The court corrected itself with “a text?” and Wishengrad

responded, “yes.”
         11 Wishengrad also intended to call as witnesses the two

other individuals who submitted declarations in opposition to
Patty’s request for a restraining order. However, when informed
that these witnesses would testify that they were part of the
group that sent the black roses and discuss their mistreatment by
(Fn. is continued on the next page.)




                                       9
       In closing, Patty’s counsel argued that Wishengrad had
admitted to the text messages and the black roses, that he had to
have known that Patty was reading the messages sent to Paul,
and that no reasonable person could read the messages and not
be horrified. He also deemed unbelievable Wishengrad’s claim
that this was now “water under the bridge.”
       Wishengrad’s counsel argued that Wishengrad’s statement
that he would not contact Patty anymore was credible, evidenced
by the fact that after sending the single text message and the
black roses to Patty, he never tried to contact her again. He also
argued that Wishengrad’s actions were justified due to his history
with Paul. Counsel concluded that Patty had failed to prove, by
clear and convincing evidence, that there was “a course of conduct
that isn’t constitutionally protected” or that Wishengrad would
“do it again.”
       The court found clear and convincing evidence to issue the
restraining order. It found there had been two incidents of
harassment—the text message and the sending of the black
roses—and that these events were done specifically to harass
Patty. It further found that “the behavior will not stop without
court intervention,” stating it did not believe Wishengrad’s
testimony that the anger was “all over” and no longer in his
mind. The court therefore issued a three-year restraining order.
       Wishengrad timely appealed.




Paul Wondries, the court deemed the testimony cumulative and
unnecessary.




                               10
                          DISCUSSION
       “A person who has suffered harassment . . . may seek a
temporary restraining order and an order after hearing
prohibiting harassment.” (§ 527.6, subd. (a)(1).) “Harassment”
includes “a knowing and willful course of conduct directed at a
specific person that seriously alarms, annoys, or harasses the
person, and that serves no legitimate purpose. The course of
conduct must be that which would cause a reasonable person to
suffer substantial emotional distress, and must actually cause
substantial emotional distress to the petitioner.” (§ 527.6, subd.
(b)(3).)

      A.    The Court Did Not Err in Finding a “Course of
            Conduct”

            1.      Wishengrad’s Actions Constitute a Course
                    of Conduct
       A “ ‘[c]ourse of conduct’ is a pattern of conduct composed of
a series of acts over a period of time, however short, evidencing a
continuity of purpose, including . . . sending harassing
correspondence to an individual by any means.” (§ 527.6, subd.
(b)(1).) A “series of acts” means more than one act. (Leydon v.
Alexander (1989) 212 Cal.App.3d 1, 4.) Here, the court found
there had been two acts: the sending of the text message and the
sending of the black roses.
       Wishengrad contends the court erred in treating these
events as distinct because “sending a text and ordering the black
roses to be delivered within a few hours” constituted a “single
incident.” “ ‘[W]hether the facts, when construed most favorably
in [petitioner’s] favor, are legally sufficient to constitute civil
harassment under section 527.6 . . . [is a] question[] of law




                                 11
subject to de novo review.’ ” (Hansen v. Volkov (2023) 96
Cal.App.5th 94, 104.)
       Reviewing the record independently, we agree with the
trial court’s determination that the text message and the black
roses constitute two separate events. Although there is some
confusion as to whether Patty received the roses on May 4 or May
11, there is no question that she received them on a different day
than the text message. Further, the text message did not
reference the roses, or indicate that the two acts were intended as
a single expression of hatred. On such a record, we do not see
how the events can be viewed as a single incident.

            2.      Wishengrad’s Case Citations Are Inapt
       Wishengrad cites three cases to bolster his proposition that
his actions should be considered a single incident of harassment:
Leydon v. Alexander, supra, 212 Cal.App.3d 1, Hansen v. Volkov,
supra, 96 Cal.App.5th 94, and Thomas v. Quintero (2005) 126
Cal.App.4th 635 (Thomas). Leydon and Hansen are easily
distinguished because, in those cases, the “incidents” the trial
court found to constitute a “course of conduct” occurred during a
single encounter between the parties. (Leydon at p. 3 [appellant’s
conduct of asking respondent if she was still sleeping with the
city manager and using vulgar names to refer to her could not
support issuance of restraining order because conduct occurred in
single visit to respondent’s office]; Hansen at p. 106 [only conduct
by appellant not constitutionally protected could not support
issuance of restraining order because it was “singular event” in
which appellant visited respondent’s office and refused to leave].)
Here, by contrast, Patty suffered the harassment on two separate
days in two separate incidents and these incidents employed
different media to convey hateful expressions.




                                12
       Although ultimately inapposite, Thomas merits further
discussion. Thomas involved a landlord (Thomas) seeking a civil
harassment restraining order against his tenant (Quintero). In
his petition, Thomas claimed Quintero was part of a group that
appeared at Thomas’s church to harass church members and
embarrass him. (Thomas, supra, 126 Cal.App.4th at p. 654.)
Thomas additionally alleged that “Quintero and others had also
demonstrated at Thomas’s home.” (Id. at p. 643.) “The conduct
sought to be enjoined was demonstrating and leafleting by
Quintero and others against Thomas’s alleged practices as a
landlord of multiple rental units.” (Id. at p. 641.) In response to
the petition, Quintero filed an anti-SLAPP motion. (Ibid.) The
appeal concerned the trial court’s denial of the motion. (Ibid.)
       Wishengrad contends that Thomas stands for the
proposition that “organizing and engaging in multiple
demonstrations against Thomas did not constitute a ‘course of
conduct’ as contemplated by the statute,” and impliedly argues
that Wishengrad’s actions should also not constitute a course of
conduct. Wishengrad misinterprets Thomas.
       While discussing the denial of Quintero’s anti-SLAPP
motion, the appellate court analyzed whether Thomas had shown
a likelihood to prevail on the merits of his petition for a civil
harassment restraining order and concluded that he had not.
(Thomas, supra, 126 Cal.App.4th at p. 662.) It found Quintero’s
activity to be constitutionally protected but added that “[e]ven if
the conduct was not constitutionally protected, Quintero was not
engaged qualitatively in a ‘pattern of conduct’ as contemplated by
the statute.” (Id. at p. 663, italics added.) We interpret the
court’s use of the word “qualitatively”—as opposed to
“quantitatively”—as a comment on the type of activity Quintero




                                13
was engaging in, and whether the activity could qualify as
harassment, rather than on the number of incidents involving
Quintero.12
      Unlike protesting an individual’s alleged practices as a
landlord, there is no “legitimate purpose” to sending a text
message that gloats over the death of the recipient’s husband,
and to arranging for the delivery of black roses as an
“exclamation point” to one’s animosity. The activity here is
qualitatively different from the activity discussed in Thomas;
Thomas therefore has no application to the facts in this case.

      B.    The Court Did Not Err in Finding That
            Wishengrad Would Continue to Harass Patty
            Without Court Intervention
      Although not expressly provided in section 527.6, case law
has established that “[a]n injunction restraining future conduct”
under that statute “is only authorized when it appears that
harassment is likely to recur in the future.” (Harris v. Stampolis
(2016) 248 Cal.App.4th 484, 499.) Here, the court found that
Wishengrad’s “behavior will not stop without court intervention.”
      Wishengrad contends that substantial evidence does not
support the court’s finding. He points out that he had no contact
with Patty from “2010 until May 3, 2023,” when he sent the text
message, and then, after sending the black roses, voluntarily had
no further contact with her until informed of the temporary
restraining order in late May, or thereafter. He also references


      12 For a course of conduct to be considered “harassment,” it

must “serve[] no legitimate purpose” and “cause a reasonable
person to suffer substantial emotional distress.” (§ 527.6, subd.
(b)(3).)




                                14
his testimony that the black roses were “the intended endpoint”
of his communication with Patty and claims that “[n]othing in the
record contradicts his sworn representations.”
       “ ‘[W]hen presented with a challenge to the sufficiency of
the evidence associated with a finding requiring clear and
convincing evidence, the court must determine whether the
record, viewed as a whole, contains substantial evidence from
which a reasonable trier of fact could have made the finding of
high probability demanded by this standard of proof.’ ” (Hansen
v. Volkov, supra, 96 Cal.App.5th at p. 104.) We conclude such
evidence exists.
       Wishengrad made clear that he blamed Patty as well as
Paul for the anxiety and stress he suffered for six years. He
made numerous references to being “viciously treated by the
Wondries family,” not just Paul. He viewed Patty as an “integral
part with Paul” and expressed a “dislike for Paul Wondries and a
dislike for Patty being his partner in crime.”
       In addition, despite not contacting Patty for 13 years, he
harbored sufficient anger toward her to send her a vile text
message the day her husband died, as well as to arrange for black
roses to be sent to her as an “exclamation point” to his hostility.
The text message strongly implied that Wishengrad’s hatred and
harassment would persist even after Paul’s death. It stated:
“Live in misery and looking forward to hearing about your own
passing, it will be another celebration for sure.” Although it is
true that there is no evidence that he contacted her between the
time the black roses were sent and the time when he learned of
the TRO several weeks later, there was also a two-week break in
the messages he sent to Paul in March 2023. Additionally,
nothing in the record shows that he contacted Paul after March




                                15
2023—but he still sent a hateful message to Patty nearly two
months later, in May 2023. Thus, the fact that Wishengrad had
not immediately continued his harassment of Patty after sending
her the black roses was not conclusive evidence that no further
harassment would occur. There was ample evidence from his
own actions and words to conclude that his harassment was
likely to continue. He told Patty that “the only thing that could
have made [Paul’s death] better was if you had painfully died
with him” and “[I’m] looking forward to hearing about your own
passing, it will be another celebration for sure.”
       In addition, the court specifically disbelieved Wishengrad’s
testimony that his animus toward Patty was “water under the
bridge.” (Harris v. Stampolis, supra, 248 Cal.App.4th at p. 498
[“we must defer to the trial court’s determinations of
credibility”].) If Wishengrad still harbored inimical feelings
toward Patty, it was reasonable to conclude that further
harassment would occur. Viewed as a whole, the record contains
substantial evidence from which a reasonable trier of fact could
have made the finding of high probability that Wishengrad’s
behavior was likely to recur without court intervention. Thus,
the trial court did not err in issuing the restraining order.




                                16
                        DISPOSITION
    The trial court’s order is affirmed. Respondent Patty
Wondries is awarded her costs on appeal.
    NOT TO BE PUBLISHED



                                                                     *
                                                      KELLEY, J.

We concur:




             ROTHSCHILD, P. J.



             BENDIX, J.




      *
      Judge of the San Luis Obispo County Superior Court,
assigned by the Chief Justice pursuant to article VI, section 6 of
the California Constitution.




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